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                                         UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF WISCONSIN

              AMANDA REIDT, on behalf of herself and
              all others similarly situated,
                                                                          CASE NO. 3:23-cv-00234-slc
                              Plaintiff,

                      v.

              ADVANCED MARKETING AND
              PROCESSING, INC. d/b/a PROTECT MY
              CAR,

                              Defendant.

                                 DECLARATION OF AMANDA REIDT
                  IN OPPOSITION TO DEFENDANT’S MOTION TO COMPEL ARBITRATION
                       AND TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT

            I, Amanda Reidt, declare under penalty of perjury:

                     1.      I am an adult over 18 years of age.

                     2.      I have personal knowledge of the facts set forth herein. I could and would testify

            to them if called upon to do so.

                     3.      I seek to serve as a class representative as requested in the Complaint.

                     4.      This declaration is made in opposition to Defendant’s Motion to Compel

            Arbitration and to Dismiss Plaintiff’s Class Action Complaint.

                     5.      I placed my telephone number ending in 7249 on the National Do Not Call

            registry on November 10, 2009. I have never removed it.

                     6.      I never visited http://jobsflag.com, before hearing about it during the course of

            this litigation, after the case was filed on April 17, 2023. I never authorized anyone to visit that

            website on my behalf.
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                      Case: 3:23-cv-00234-jdp 
                                              Document #: 15 Filed: 07/21/23 Page 2 of 2




                     7.      I have never provided information attributable to me on or agreed to any contract

            on http://jobsflag.com, nor have I authorized anyone to do so on my behalf.

                     8.      I reviewed the “Lead Event Information” provided by the Defendant that includes

            an “Event Time” and “IP Address.”

                     9.      My IP Address does not match the IP Address (107.155.239.18) associated with

            the “Lead Event Information.”

                     10.     An internet search for information associated with the IP Address 107.155.239.18

            reveals that it is associated with the Internet Service Provider “Sentris Network LLC.” See

            Exhibit A.

                     11.     My Internet Service Provider is not Sentris Network LLC.

                     12.     The IP Address 107.155.239.18 is associated with a location in Seattle,

            Washington.

                     13.     I was not in Seattle, Washington on January 15, 2023 at 6:47:14 AM MST.

                     14.     I was in Fall Creek, WI on January 15, 2023 at 6:47:14 AM MST.

                     15.     January 15, 2023 was a Sunday.

                     16.     I believe that I would have been asleep at this time, because I normally do not

            wake up until 9:00am on Sundays.

                     17.     If a person did indeed put information attributable to me into a website on January

            15, 2023, I do not know who it was or why he or she did it.

                     18.     I declare under penalty of perjury that the foregoing is true and correct.

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            EXECUTED ON: ________________.

                                                               BY:   _________________________________
                                                                     AMANDA REIDT
